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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
        Plaintiff,                              )
                                                )           4:19-CR-375-CDP
v.                                              )
                                                )
SHEILA SWEENEY,                                 )
                                                )
        Defendant.                              )

             ACCEPTANCE OF PRESENTENCE INVESTIGATION REPORT

        Defendant Sheila Sweeney (“Sweeney”), by and through undersigned counsel, hereby

states to the Court that she accepts and has no objections to the Presentence Investigation Report

filed in this case.


                                             Respectfully submitted,

                                             Margulis Gelfand, LLC

                                             /s/ Ian T. Murphy
                                             WILLIAM S. MARGULIS, #37625
                                             JUSTIN K. GELFAND, #62265
                                             IAN T. MURPHY, #68289
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                                     Certificate of Service

      I hereby certify that the foregoing was filed electronically with the Clerk of the Court to be

served by operation of the Court’s electronic filing system upon the Office of the United States

Attorney.

                                             /s/ Ian T. Murphy
                                             WILLIAM S. MARGULIS, #37625
                                             JUSTIN K. GELFAND, #62265
                                             IAN T. MURPHY, #68289
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